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UNITED STATES DISTRICT COURT
FOR THE EASTERN DISTRICT OF PENNSYLVANIA

IN RE: NATIONAL FOOTBALL LEAGUE
PLAYERS’ CONCUSSION INJURY LITIGATION

No. 12-md-2323 (AB)

MDL No. 2323
THIS DOCUMENT RELATES TO:

Complaint and

RODNEY BAILEY, Plaintiff,

)
)
)
)
)
Plaintiffs’ Master Administrative Long Form NOTICE OF ATTORNEY’S LIEN
)
)
USDC, EDPA, Docket No. 2:12-cv-05372-AB

)

)

Attorney Jason E. Luckasevic and Goldberg, Persky & White, P.C., attorneys for Plaintiff
Rodney Bailey in the above entitled action, hereby notify this Court and all parties that they have
a lien in this case for reasonable contingent attorney’s fees plus expenses as set forth in the

accompanying Petition to Establish Attorney’s Lien relating to Plaintiff Rodney Bailey.

Dated: April 24, 2017 Respectfully submitted,

GOLDBERG, PERSKY & WHITE, P.C.

/s/_ Jason E. Luckasevic
Jason E, Luckasevic, Esquire
PA Bar No. 85557

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jluckasevic@gpwlaw.com

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CERTIFICATE OF SERVICE

I hereby certify that I caused the foregoing Notice of Attorney’s Lien to be served via the
Electronic Case Filing (ECF) system in the United States District Court for the Eastern District

of Pennsylvania on all parties registered for CM/ECF in the litigation.

Dated: April 24, 2017 {s/_ Jason E. Luckasevic
Jason E, Luckasevic, Esquire
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